Case 5:23-cv-00032-RWS Document 87 Filed 04/30/24 Page 1 of 3 PageID #: 1523




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

ALEXANDRA DAVIS,
     Plaintiff/ Counter-Defendant,

VS.                                                              CIVIL ACTION NO. 5:23-CV-00032-RWS

JERRAL W. JONES, DALLAS COWBOYS                                                  JURY TRIAL DEMANDED
FOOTBALL CLUB, LTD., JAMES
WILKINSON, TRAILRUNNER
INTERNATIONAL, LLC, and DONALD JACK,
JR.
      Defendants,

VS.

CYNTHIA DAVIS-SPENCER
     Third-Party Defendant.

                         ALEXANDRA DAVIS’ TRIAL WITNESS LIST

         Counter-Defendant Alexandra Davis, by and through her designated attorneys, pursuant to

the Court’s Docket Control Order entered in this case, files this Trial Witness List for

identification and categorization of trial witnesses.

         At this time, Plaintiff identifies the following witnesses for trial:


                                                                                         MAY, BUT
                                                                 WILL             MAY    PROBABLY
                                                                 CALL             CALL   WILL NOT
           WITNESS, employer, topic of testimony                                         CALL
    1.    Alexandra Davis, US Government, Defendant             yes
          Breach of Contract
    2.     Jerral Jones, Self, Plaintiff, Breach of Contract    yes

    3.     Cynthia Davis, Grand Homes, Defendant, Breach yes
           of Contract
    4.    Shy Anderson, unknown, breach of contract by yes
          Jerry Jones
    5.    Charolette Jones, Dallas Cowboys, Breach of                            yes
          Contract by Jones


ALEXANDRA DAVIS’ TRIAL WITNESS LIST                                                              1
Case 5:23-cv-00032-RWS Document 87 Filed 04/30/24 Page 2 of 3 PageID #: 1524




   6.   Stephen Jones, Dallas Cowboys, breach of                    yes
        contract by Jones
   7.   Jerry Jones, Jr, Dallas Cowboys, Breach of                  yes
        contract by Jones
   8.   Eugenia Jones, None, Breach of contract by Jones            yes

   9.   DeAynni Hatley, unknown, breach of contract by yes
        Jones




Respectfully submitted,

/s/     Matt Keil                                    /s/ Jay K. Gray
KEIL LAW FIRM, PLLC                                  BERGMANGRAY LLP
Matt Keil                                            Jay K. Gray
State Bar No. 11181750                               State Bar No. 08324050
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ATTORNEYS FOR PLAINTIFF ALEXANDRA DAVIS




ALEXANDRA DAVIS’ TRIAL WITNESS LIST                                            2
Case 5:23-cv-00032-RWS Document 87 Filed 04/30/24 Page 3 of 3 PageID #: 1525




                               CERTIFICATE OF SERVICE

       On April 30, 2024, this document was transmitted electronically via electronic mail to all

counsel of record in the case at their electronic mail addresses provided on the electronic case

filing system of the Court.


                                                    /s/ Jay K. Gray________ __
                                                    Jay K. Gray




ALEXANDRA DAVIS’ TRIAL WITNESS LIST                                                            3
